Case 3:15-cr-OOO44-D Document 551 Filed 07/21/16 Page 1 of 3 Page|D 1892
a§ 5 is ss "* COURT

CL§§:§:`§§H»§ q‘__\`so!if br ix
O Ri 3 l NAL IN THE UNITED sTATES DISTRICT CoURr '
FOR THE NORTHERN DISTRICT OF TEXA§E) JUL 21 pH 2; 36

 

DALLAS DIVISIGN
umw cL€RKL:____
UNITED STATES OF AMERICA
V. NO. 3115-CR-044-D
MUHAMMAD FARIDI (28)
FACTUAL RESUl\/IE

Muhammad Faridi, the defendant, Richard Roper, the defendant’s attorney, and the
United States of America agree that the following facts are true and correct and may be
used to support Faridi’s plea of guilty to Count One of the Superseding Information:

Elements of the Offense
Count One
Conspiracy to Launder Monetary Instruments
(Violation of 18 U.S.C. § l956(h))

First: There was an agreement between two or more persons to commit
money laundering; and

Second: That the defendant joined the agreement knowing its purpose and
with the intent to further the illegal purpose.

w
Muhammad Faridi is not a doctor licensed by the State of Texas, does not have a
DEA registration, and has no authority to distribute or dispense controlled substances
Beginning in January 2013 and continuing through July 2014, he and his co-conspirators,
including Dr. Richard Andrews and Ndufola Kigham, distributed and caused to be
distributed at least 150,000 30mg oxycodone pills in Dallas, Texas, and e:ZFjvhere
through McAllen Medical Clinic in Dallas, Texas, which he w operated with Dr.

Factual Resume - Page 1

 

“ Case 3:15-cr-OOO44-D Document 551 Filed 07/21/16 PageZofS Pa.ge|D 1893

Richard Andrews. The prescriptions were issued under the name and DEA registration
number of co-conspirator Dr. Richard Andrews, the supervising physician of McAllen.
Faridi knew that none of` the prescriptions for the 30mg oxycodone had been issued for a
legitimate medical purpose by a medical practitioner acting in the usual course of
professional practice.

Faridi and his co-conspirators, including Dr. Richard Andrews, conspired to
conduct financial transactions with the proceeds of this drug-trafficking to conceal and
disguise the nature, location, source, ownership, or control of those proceeds
Specifically, Faridi admits that he knowingly combined, conspired, confederated, and
agreed with Dr. Richard Andrews, and others both known and unknown, to knowingly
conduct and attempt to conduct a financial transaction affecting interstate commerce, that
is, to transfer $25,000.00 to Richard Andrews in the form of a check numbered 992
drawn on a Bank of America account ending in 5205 in the name of KHI Medical
Solutions, Inc., and controlled by Muhammad Faridi, made payable to Richard Andrews,
involving the proceeds of specified unlawful activity, that is, conspiracy to distribute and
possess with intent to distribute a controlled substance, namely oxycodone, a Schedule ll
controlled substance, in violation of 21 U.S.C. § 846, knowing that the transaction was
designed in whole or in part to conceal and disguise the nature, location, source,
ownership, or control of the proceeds of the specified unlawful activity, and that while
conducting and attempting to conduct such financial transaction, knew that the property
involved in the transaction represented the proceeds of some form of unlawful activity,

Muhammad Faridi therefore admits that, on February 20, 2013, in the Dallas

Factual Resume - Page 2

' Case 3:15-cr-OOO44-D Document 551 Filed 07/21/16 PageSofS Page|D 1894

Division of the Northern District of Texas and elsewhere, he knew there was an
agreement between Dr. Richard Andrews and others to commit money laundering and he
joined in this agreement with the intent to further its illegal purpose, in violation of 18
U.S.C. §§ l956(a)(1)(B)(i) and l956(h).

This F actual Resume is not intended to be a complete accounting of all of the facts
and events related to the offense charged in this case. Instead, it is intended only to
demonstrate that a factual basis exists to support the defendant’s plea of guilty to Count

One of the Superseding Information.

 

%W#[</AZ®-

 

 

 

 

MARY F/WALTERS RICK CALVERT

Assistant United States Attomey Deputy Chief
W§'/ V/vzllé
y /' b s r

DI Date

  

7/>)/)4

v
RIGHARD RoPER Date ' ’ '
Attomey for Defendant

 

 

Factual Resume - Page 3

 

